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                   IN THE DISTRICT COURT OF THE UNITED STATES
                         FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,                        §
                                                 §
               Plaintiff,                        §
                                                 §
vs.                                              §                      Cause No. 05-CR-1849-JH
                                                 §
DANA JARVIS, et al,                              §
                                                 §
               Defendants.

                        JOINDER IN DEFENDANTS’ JOINT MOTION
                          TO DISMISS OR IN THE ALTERNATIVE,
                              FOR A BILL OF PARTICULARS

       Greg Hill, by his undersigned counsel, hereby joins in the motion filed by the CJA defendants

on October 6, 2006, seeking to dismiss the forfeiture allegation, or in the alternative for a bill of

particulars (Doc. 697), and would add to the items sought to be seized referenced in Paragraph 2 the

$40,000 seized from 3900 Ramp Creek Road, Bloomington, Indiana.

                                     Respectfully submitted,

                                       electronically filed
                                     KARI CONVERSE
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                                     Albuquerque, New Mexico 87110
                                     (505) 262-8597
                                     Fax (505) 262-1730
                                     Counsel for Mr. Hill


                                    C ERTIFICATE OF S ERVICE

       I hereby certify that a true and correct copy of the foregoing Joinder in Motion was served on
James Braun, Assistant United States Attorney, P.O. Box 607, Albuquerque, New Mexico, 87103, on
October 19, 2006.



                                      electronically filed
                                     KARI CONVERSE
